        Case 1:24-mj-00169-RMM Document 1-1 Filed 05/10/24 Page 1 of 10




                                  STATEMENT OF FACTS
                                FRANCIS JOSEPH VITOLLO

        Your affiant,               is a Special Agent assigned to the FBI Albany Joint Terrorism
Task Force. In my duties as a special agent, I have worked on investigations involving
counterterrorism and national security matters. In addition, I have worked on temporary
deployments related to crimes committed on Native American Reservations, as well as
investigations related to violent street gangs, violent crimes, and drug trafficking. In these
assignments, I have worked and continue to work with federal, state, and local law enforcement
agents and officers on a number of criminal investigations.

        Currently, I am tasked with investigating criminal activity in and around the Capitol
grounds on January 6, 2021. As a Special Agent, I am authorized by law or by a Government
agency to engage in or supervise the prevention, detection, investigation, or prosecution of a
violation of Federal criminal laws.

        U.S. Capitol Police (USCP), the FBI, and assisting law enforcement agencies are
investigating a riot and related offenses that occurred on January 6, 2021, at the United States
Capitol, located at 1 First Street, NW, Washington, D.C., 20510.

       The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by USCP. Only
authorized people with appropriate identification were allowed access inside the U.S. Capitol.

        On the west side of the Capitol building is the West Front, which includes the inaugural
stage scaffolding, a variety of open concrete spaces, two staircases, and multiple terraces. On the
east side of the Capitol is the East Front, which includes three staircases, porticos on both the
House and Senate side, and two large skylights into the Visitor’s Center surrounded by a concrete
parkway. All of this area was barricaded and closed to members of the public on January 6, 2021.

        On January 6, 2021, a joint session of the United States Congress convened at the U.S.
Capitol. During the joint session, elected members of the United States House of Representatives
and the United States Senate were meeting to certify the vote count of the Electoral College of the
2020 Presidential Election, which took place on November 3, 2020 (“Certification”). The joint
session began at approximately 1:00 p.m. in the House of Representatives. Shortly thereafter, by
approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a
particular objection. Vice President Mike Pence was present and presiding, first in the joint
session, and then in the Senate chamber.

        The grounds around the Capitol were posted and cordoned off, and the entire area as well
as the Capitol building itself were restricted as that term is used in Title 18, United States Code,
Section 1752 due to the fact that the Vice President and the immediate family of the Vice President,
among others, would be visiting and did visit the Capitol complex that day.

       At around 1:00 p.m., individuals broke through the police lines, toppled the outside
barricades protecting the U.S. Capitol, and pushed past USCP and supporting law enforcement


                                                 1
        Case 1:24-mj-00169-RMM Document 1-1 Filed 05/10/24 Page 2 of 10




officers there to protect the U.S. Capitol. As a result of these and other similar actions by the
crowd, the situation at the Capitol became a civil disorder as that term is used in Title 18, United
States Code, Section 231. The civil disorder obstructed the ability of the U.S. Secret Service to
perform the federally protected function of protecting Vice President Pence.

        As they advanced unlawfully onto Capitol grounds and towards the U.S. Capitol building
over the next several hours, individuals in the crowd destroyed barricades and metal fencing and
assaulted law enforcement officers with fists, poles, thrown objects, and chemical irritant sprays,
among other things. Individuals in the crowd carried weapons including tire irons, sledgehammers,
bear spray, and tasers, some of which were also used to assault members of law enforcement. A
number of individuals in the crowd wore tactical vests, helmets, and respirators.

       At approximately 2:00 p.m., some people in the crowd forced their way through, up, and
over the barricades and law enforcement. The crowd advanced to the exterior façade of the
building. At such time, the certification proceedings were still underway, and the exterior doors
and windows of the U.S. Capitol were locked or otherwise secured.

       Beginning shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S.
Capitol, including by breaking windows and by assaulting members of law enforcement.

        Once inside, certain of the unlawful entrants destroyed property, stole property, and
assaulted federal police officers.

        Between approximately 2:10 p.m., and 2:30 p.m., Vice President Pence evacuated the
Senate Chamber, and the Senate and House of Representatives went into recess. Unlawful entrants
into the U.S. Capitol building attempted to break into the House chamber by breaking the windows
on the chamber door. Law enforcement officers inside the House of Representatives drew their
weapons to protect members of the House of Representatives who were stuck inside. Both the
Senate and the House of Representatives Chamber were eventually evacuated.

       At around 2:47 p.m., subjects broke into the Senate Chamber not long after it had been
evacuated.

        At around 2:48 p.m., DC Mayor Muriel Bowser announced a citywide curfew beginning
at 6:00 p.m. Mayor Bowser’s order imposing a curfew in the District of Columbia impacted
interstate commerce. For example, grocery store Safeway closed all 12 of its stores in the District
of Columbia as of 4 p.m. that day, and Safeway’s stores were supposed to close at 11 p.m.

       At about 3:25 p.m., law enforcement officers cleared the Senate floor. Between 3:25 and
around 6:30 p.m., law enforcement was able to clear the U.S. Capitol of all of the subjects.

       Based on these events, all proceedings of the United States Congress, including the joint
session, were effectively suspended until shortly after 8:00 p.m. the same day. In light of the
dangerous circumstances caused by the unlawful entry to the U.S. Capitol, including the danger
posed by individuals who had entered the U.S. Capitol without any security screening, the joint
session could not resume until after every unauthorized occupant had left the U.S. Capitol, and the


                                                 2
        Case 1:24-mj-00169-RMM Document 1-1 Filed 05/10/24 Page 3 of 10




building had been confirmed secured. The proceedings resumed at approximately 8:00 pm after
the building had been secured. Vice President Pence remained in the United States Capitol
throughout the events, including during the time he was evacuated from the Senate Chamber until
the joint session concluded at approximately 3:44 a.m. on January 7, 2021.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                            Identification of Francis Joseph Vitollo

        On June 27, 2022, FBI Albany began investigating a tip that Francis Joseph Vitollo
(hereinafter, “Vitollo”) was involved in the events of January 6, 2021. Subsequent investigation
identified Vitollo as a living at 42 Main Street, Coeymans, New York.

       FBI Albany searched data sets housing cell tower records for the U.S. Capitol building on
January 6, 2021, and found phone number (518)669-1531. Vitollo was determined to be the
Verizon subscriber for this number on January 6, 2021. Call detail records were returned from
Verizon from a cell phone tower associated with the Capitol building on January 6, 2021, for phone
number (518)669-1531.

        On February 14, 2024, FBI Albany interviewed an individual by phone who had submitted
an online tip related to Vitollo in 2021. The tip submitter advised that they were familiar with
Vitollo from interacting with him on work-related matters, and that they had seen Vitollo in video
footage taken by another rioter on January 6, 2021, as it was live-streamed from outside of the
U.S. Capitol building.

       On October 17, 2022, Vitollo was interviewed by FBI Albany agents at his residence.
Vitollo told the agents that on January 5, 2021, he travelled to Washington D.C. with William
Tryon, and two other individuals. They stayed in a hotel.

        Vitollo described wearing a denim jacket and winter hat on January 6, 2021, in the FBI
interview.




                                                 3
        Case 1:24-mj-00169-RMM Document 1-1 Filed 05/10/24 Page 4 of 10




       During the interview, Vitollo first denied going inside the U.S. Capitol building. Then he
was shown the picture below (Image 1) of a male in a denim jacket with a light colored collar, and
blue and red winter hat with the text “TRUMP 2020” in white, inside the U.S. Capitol building
during the January 6 riot. Vitollo looked at the picture and said, “that’s me.”




                                             Image 1

        On March 30, 2021, William Tryon (“Tryon”) was interviewed subsequent to his arrest
related to criminal activity at the U.S. Capitol on January 6, 2021. During this interview, Tryon
stated that he travelled to Washington D.C. with three individuals, one of whom he identified as
Joe Vitollo. Audio and video of this interview were recorded. 1

                              Vitollo’s Activity at the U.S. Capitol

       Over the course of the investigation, United States Capitol Police Closed Circuit Video
(CCV) footage and open-source video footage and images were reviewed showing Vitollo walking
toward the U.S. Capitol, standing and walking on restricted grounds outside of the U.S. Capitol
building, and walking, sitting down, and appearing to use his cellular phone inside of the U.S.
Capitol building.

        In his October 17, 2022, FBI interview Vitollo said that he attended the former president’s
rally in Washington D.C. with Tryon and then walked toward the Capitol with him. Vitollo and
Tryon were captured in an open-source image among a huge crowd of people walking toward the
Capitol.




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       On August 23, 2021, Tryon plead guilty to crimes he committed at the Capitol on January
6, 2021.

                                                4
        Case 1:24-mj-00169-RMM Document 1-1 Filed 05/10/24 Page 5 of 10




                  Image 2 – Vitollo (yellow circle) with Tryon (blue circle)

        Vitollo approached the U.S. Capitol building on the East Front, and at one point stood in
front of a line of police officers on the steps near Tryon.




            Image 3 – Vitollo (yellow circle), Tryon (blue circle), in front of a police line




                                                5
        Case 1:24-mj-00169-RMM Document 1-1 Filed 05/10/24 Page 6 of 10




       Vitollo, still with Tryon, then moved closer to the Capitol building near the Upper House
Door on the East Front of the Capitol, amongst others near the exterior façade of the U.C. Capitol
building.




 Image 4 - Vitollo (yellow circle), Tryon (blue circle), on the stairs on the East Front of the
                          U.S. Capitol near the Upper House Door

      Vitollo approached the Capitol building and knocked on a window near the Upper House
Door while the window was still intact.




       Image 5 – Screenshot from open-source video of Vitollo knocking on window



                                                6
Case 1:24-mj-00169-RMM Document 1-1 Filed 05/10/24 Page 7 of 10
Case 1:24-mj-00169-RMM Document 1-1 Filed 05/10/24 Page 8 of 10
Case 1:24-mj-00169-RMM Document 1-1 Filed 05/10/24 Page 9 of 10
Case 1:24-mj-00169-RMM Document 1-1 Filed 05/10/24 Page 10 of 10




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